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                 IN THE UNITED STATES DISTRICT COURT
                                                                            FILED
                     FOR THE DISTRICT OF MONTANA                            FEB 05 201+
                          MISSOULA DIVISION                            ~S District c
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 SAMANTHA LASORTE,                                 CV l2-87-M-DWM

                    Plaintiff,

       vs.                                                ORDER

 THOSE CERTAIN UNDERWRITERS
 AT LLOYD'S SEVERALLY
 SUBSCRIBING TO POLICY
 NUMBERS ll5NAPI08111970 AND
 115NAPI0911l970,

                    Defendants.


                                  INTRODUCTION

      This is a breach of contract case. Plaintiff Samantha Lasorte seeks

judgment against Defendant, Those Certain Underwriters at Lloyd's

("Defendants" or "the Insurer"), for breach of an insurance policy issued by the

Insurer to Plaintiff's employer, Real Estate Client Referrals ("the Employer" or

"the Insured"), against whom Lasorte acquired judgment in an underlying state

court discrimination suit. Defendants have moved for summary judgment. For the

reasons set forth below the motion is denied in part and granted in part. Based on

the existing record, the parties are hereby given notice that summary judgment in

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favor of Plaintiff is likely to be granted under Fed. R. Civ. P. 56(f)(1) ("After

giving notice and a reasonable time to respond, the court may grant summary

judgment for a nonmovant"). Within ten (10) days of the entry of this Order the

parties shall submit simultaneous briefs of no more than ten (10) pages in support

of or in opposition to granting summary judgment in favor of Plaintiff.

                 STATEMENT OF FACTS AND PROCEDURAL HISTORY

       Lasorte filed a sexual discrimination and retaliation suit against her

employer Real Estate Client Referrals in underlying litigation before Judges Dusty

Deschamps and Karen Townsend in Montana's Fourth Judicial District Court. At

the time, the Employer was insured under an Employment Practices Insurance

Policy ("the Policy") issued by the Defendants Lloyd's ("the Insurer").] The

Policy contained a Self Insured Retention ("SIR" in the parties' briefs) provision

that required the insured to act as its own insurer for the first $25,000 in costs

associated with a claim. The Employer notified the Insurer of the claim and

retained defense counsel. The Insurer responded with a letter to the Employer

acknowledging the claim was covered by the policy, and expressing approval of

the Employer's choice of counsel. The letter then advised the Employer that the


        1 While two policies are identified in the case caption, one covering 2008-09, the other

covering 2009-10, both parties reference only the first policy in their briefs and no material
differences between the language of the two policies are apparent.

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$25,000 Self Insured Retention had to be satisfied before the Insurer would be on

the hook for any loss or defense cost payments under the Policy.

      The Employer resolved the discrimination suit by entering into a stipulated

judgment in favor ofLasorte for $210,000, an assignment of claims, and a

covenant not to execute. As a part of the settlement agreement, the Employer

agreed to payment of $2,000 to Lasorte. It is not clear from the record whether the

Employer actually paid those amounts. According to the affidavit of the

Employer's counsel, Malin Steams Johnson, the Employer did not pay any money

toward defense counsel's fees.

      The Insurer refuses to indemnify the Employer for the stipulated judgment,

claiming its duty to pay any loss amount under the Policy was never triggered

because the Employer, by failing to pay $25,000 toward the judgement or for

defense costs, failed to exhaust the Self Insured Retention. Prior to execution of

the stipulated judgment, counsel for the Employer, through its correspondence,

gave the Insurer the opportunity to exercise its right to defend and assume defense

of the employment discrimination claim. The Insurer chose not to exercise its

right to defend.

      Lasorte then filed suit against the Insurer in Montana's Fourth Judicial

District Court claiming the Insurer breached the terms of the Policy by refusing to

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